                       Case: 1:25-mj-02038-JEG Doc #: 1 Filed: 02/25/25 1 of 1. PageID #: 1
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                       District
                                                 __________     of North
                                                             District of Dakota
                                                                         __________

                  United States of America
                             v.                                     )
                                                                    )        Case No.     3:25-cr-7
                   Domonique Octvia Byers                           )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Domonique Octvia BYERS                                                                                ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
u                         u Superseding Indictment        u Information         u Superseding Information               u Complaint
u Probation Violation Petition             u Supervised Release Violation Petition         u Violation Notice           u Order of the Court

This offense is briefly described as follows:
  Conspiracy to Possess with Intent to Distribute and Distribute a Controlled Substance
  Aiding and Abetting




Date:         01/08/2025                                                                /s/ Bre Estrella Solberg Luedtke
                                                                                             Issuing officer’s signature

City and state:       Fargo, ND                                                 Bre Estrella Solberg Luedtke, Deputy Clerk
                                                                                               Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                            Arresting officer’s signature



                                                                                               Printed name and title
